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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

   NETLIST, INC.,                         )
                                          )
               Plaintiff,                 )
                                          )   Case No. 2:22-cv-293-JRG
         vs.                              )
                                          )   JURY TRIAL DEMANDED
   SAMSUNG ELECTRONICS CO, LTD;           )   (Lead Case)
   SAMSUNG ELECTRONICS AMERICA,           )
   INC.; SAMSUNG SEMICONDUCTOR            )
   INC.,                                  )
                                          )
               Defendants.                )

   NETLIST, INC.,                         )
                                          )
               Plaintiff,                 )
                                          )
                                              Case No. 2:22-cv-294-JRG
         vs.                              )
                                          )
                                              JURY TRIAL DEMANDED
   MICRON TECHNOLOGY, INC.;               )
   MICRON SEMICONDUCTOR                   )
   PRODUCTS, INC.; MICRON                 )
   TECHNOLOGY TEXAS LLC,                  )
                                          )
               Defendants.                )

     PLAINTIFF NETLIST, INC.’S OPPOSITION TO SAMSUNG’S MOTION FOR
        AN EXTENSION OF TIME TO RESPOND TO NETLIST’S MOTION
                  FOR SUMMARY JUDGMENT (DKT. 284)
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           Netlist agreed without pre-condition that Samsung could have until January 5, 2024 to

   file its responsive brief. The motion for summary judgment was filed on December 12, 2023.

   This gives Samsung 23 days to respond. Samsung is not merely seeking a courtesy extension.

   Rather, it is improperly seeking to delay briefing on Netlist’s summary judgment motion

   indefinitely. There are two aspects to Samsung license defense: (a) whether the products accused

   of infringement are covered by the JDLA; and (b) whether the JDLA was properly terminated

   based on Samsung’s material breach. Samsung has moved to strike Netlist’s motion for summary

   judgment on Samsung’s license defense in its entirety because (b) is also currently before the

   Central District of California. Now Samsung asks this Court to defer briefing on Netlist’s

   summary judgment motion pending resolution of Samsung’s motion to strike. Samsung’s

   behavior ignores that the JDLA license defense, of which (a) is an essential part, is solely present

   in East Texas. As this Court explained in denying Samsung’s motion to stay this case pending

   resolution of the “California Action,” there is no reason why both cases cannot proceed

   “simultaneously.” Dkt. 278 at 5. This case is quickly approaching trial, and “[w]hether or not the

   California Action will simplify this case is obviously speculative.” Id. at 5-6.

           Prompt briefing on Netlist’s motion is in the interest of justice because (1) Samsung is

   using its license defense to vacate the Samsung I verdict, and (2) Samsung will be required to take

   a definitive position on the scope of the key clauses in the JDLA, which may entirely resolve the

   JDLA defense without the expenditure of significant pre-trial resources preparing for a part of

   the case that can be disposed of as a matter of law.

           Netlist asked Samsung directly before Samsung filed this motion for an indefinite stay:

           1. Is Samsung maintaining a license defense as to the products at issue in
           Samsung I and Samsung II? This has two parts: Is Samsung maintaining that
           the products are covered by the JDLA? Is Samsung maintaining the JDLA is
           still in effect?

   Ex. 1 at 2. Samsung’s response was unambiguous:


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           Yes, we are of course maintaining the defense in EDTX and coverage (just like
           in the first case). And the court in CD Cal is dealing with the issue of whether
           the JDLA has been breached and whether it was properly terminated. Our
           position in CD Cal is clear.

   Id. Samsung cannot maintain a license defense based on the JDLA that involves both scope and

   termination in this Court, while at the same time blocking the Court from adjudicating any aspect

   of this defense.

           Regardless of intent, Samsung’s request for an extension has the effect of allowing

   Samsung to avoid having to take positions on the license defense that it has raised in this dispute.

   Samsung has taken inconsistent positions on license scope and termination in this Court and the

   California Action. In particular, to convince the Ninth Circuit to vacate the Central District’s

   summary judgment order on termination and breach, Samsung argued that the clauses of the

   JDLA that do not mention joint development—including both the supply clause and the license

   grant—are implicitly limited to joint development. In contrast, here, Samsung is arguing that the

   license grant is broad and contains no such limitation.

           Samsung should be required to put forth its position on both license scope and

   termination in this case so that defense can be promptly resolved without expenditure of

   additional resources. The question of license scope is solely before this Court and not currently

   at issue in the California Action. As this Court noted in denying Samsung’s stay motion, “Samsung

   has not shown why this Court should halt its work on all contested issues . . . solely to await the

   adjudication of an issue that may or may not simplify this case.” Dkt. 278 at 6. Yet Samsung is

   once again asking this Court to do exactly that.

           As Netlist has shown, both the license grant and supply clause language in the JDLA

   make no reference to joint development, but Samsung successfully argued in the Ninth Circuit

   that this concept could be imported into both clauses. It is therefore proper to require Samsung

   to engage with the entirely inconsistent position it takes in this Court. It is a fundamental precept


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   of contract law that like language carries like meaning in a contract. See Restatement (First) of

   Contracts § 235(b) (1932).

           Notably, while Samsung’s material breach is currently before the Central District of

   California, Judge Scarsi has not even said whether he intends to rule on this issue. Netlist has filed

   a motion to stay the California Action, which will be heard on February 5, 2023 concurrently with

   the parties’ cross motions for summary judgment on contract interpretation. If Judge Scarsi grants

   the stay, then Samsung’s proposed indefinite extension will only cause unnecessary delay.

           Contrary to Samsung’s assertion, Netlist’s summary judgment motion is not “an affront

   to the C.D. Cal. court’s jurisdiction” or the “the Ninth Circuit’s mandate.” Mot. at 1. Merely

   requiring Samsung to set forth its full position on its license defense in this case will not in any

   way interfere with the proceedings in the California Action. This is because neither the C.D. Cal.

   nor the Ninth Circuit had the license defense before them. Nor will it cause Samsung any

   prejudice. What it will do, however, is ensure a prompt definitive resolution of Samsung’s entirely

   inconsistent positions so that resources do not need to be expended on the license defense before

   the PTC. This is all the more important because Netlist’s motion in East Texas is based on

   admissions of Samsung witnesses in East Texas depositions. Samsung has refused to allow this

   testimony to be presented in C.D. Cal. Samsung’s request for an extension should be denied.

   I.      BACKGROUND

           A.      Samsung Has Taken Entirely Inconsistent Positions on the Scope of the
                   License Grant in the JDLA

           Samsung’s motion misstates the record. Samsung first raised its license defense in Samsung

   I where it argued that the scope of the JDLA covers

                                                                                                    Case

   No. 2-21-cv-00463 (“Samsung I”), Dkt. 196 at 1. On summary judgment, this Court concluded

   that Netlist had terminated the JDLA on July 15, 2020. Id., Dkt. 432 at 2. Contrary to Samsung’s


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   argument, however, the Court did not conclude that “all of Samsung’s accused products were

   fully licensed” through that date. Mot. at 3. Instead, the Court held that there was a dispute of

   fact as to license scope:

           [T]here’s no material question of fact that the termination letter executed by
           Netlist on July the 15th, 2020, effectively terminated your licenses – Samsung’s
           license as of that date . . . So you’ve got a license – Samsung’s got a license
           defense up until July 15th, 2020, and you don’t have one after July 15th, 2020.
           What falls within that license as prescribed by the other terms of the JDLA is
           a fact question.

   Samsung I, Dkt. 426 at 59. The question of what was licensed before termination was ultimately

   moot because the Court also held as a matter of law that there was a pre-suit marking requirement

   under Arctic Cat and there was no pre-suit notice as to the only patents-in-suit that issued before

   termination, the ’060/160 patents. Id., Dkt. 432 at 3.

           Samsung is correct that the Court granted judgment at the end of trial that the accused

   HBM products were not foundry products. Mot. at 3. But this is a necessary, not a sufficient,

   condition for a product to be licensed. The Court did not grant judgment at the end of trial that

   the JDLA’s license grant covers any accused product or whether this license grant was limited to

   the parties’ joint development project because neither of those issues were before the jury. Netlist

   only sought damages for the period after termination, consistent with the Court’s summary

   judgment during pre-trial.

           Samsung has raised the same license defense here as it did in Samsung I. Specifically,

   Samsung claims that the (1) JDLA’s license grant is broad and covers the patents in suit and (2)

   Samsung did not materially breach the JDLA by failing to supply Netlsit with memory products.

   Dkt. 145 at 27 (“SEC maintains that it did not breach the Agreement, that the Agreement has not

   been terminated, and that it continues to hold a paid-up, worldwide, non-exclusive license to

   Netlist’s patents, including the Patents-In-Suit. All of Samsung’s sales of the Accused




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   Instrumentalities are therefore licensed to the asserted patents in this case.”). The full scope of

   Samsung’s license defense is thus currently before this Court.

           Netlist has moved for summary judgment on this defense, as it has a right to do under

   both the Federal Rules and this Court’s docket control order. Dkt. 273. Samsung has taken

   numerous positions in the cases before this Court on the JDLA that are flatly inconsistent with

   the positions it has taken in the California Action. As Netlist has extensively detailed these

   inconsistencies elsewhere, see id. at 2, 9-11; Samsung I, Dkt. 582 at 13-15, it will only briefly

   summarize them here.

           In the cases before this Court, Samsung has argued that the JDLA’s license grant broadly

   covers the Accused Products and is not limited to the parties’ joint development efforts. Samsung

   I, Dkt. 290 at 2; Dkt. 145 at 25. In the California Action, however, Samsung has argued the exact

   opposite. Indeed, its theme on appeal was that, even where the JDLA does not reference the joint

   development collaboration, it should be read as limited to joint development. This is why,

   according to Samsung, the Central District of California erred in concluding that Samsung had

   materially breached the JDLA’s supply clause, i.e., that clause must also be read as limited to

   supplying components for the parties’ joint development only.

           To convince the Ninth Circuit of this, Samsung argued “[t]here’s other provisions in the

   contract that clearly relate to the joint development project, that don’t also say in connection with

   the joint development project.” Dkt. 273-2 (MSJ Ex. 1) at 8:16-19. One of the examples Samsung

   counsel pointed to was the JDLA’s license grant. As Samsung’s counsel explained pointing to the

   JDLA’s recitals, “[t]he licenses are being given in connection with the collaboration. That’s the

   joint development project.” Id. at 15:10-21. Another example was the JDLA’s non-recurring

   engineering (“NRE”) fee: “there’s an $8 million NRE fee that’s paid. It’s clearly for the joint

   development project, but it doesn’t say it’s specifically for the joint development project.” Id. at

   8:16-24. This is the exact opposite of what Samsung has argued to this Court where it has

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   repeatedly asserted that the $8 million payment was compensation for a broad license grant. See,

   e.g., Samsung I, Dkt. 566 at 57 (“Netlist perpetually licensed 87 patents to Samsung, including the

   asserted patents, in an agreement where Samsung paid $8 million.”).

             Samsung has also taken inconsistent positions on the scope of the JDLA’s supply

   provision. Before the Ninth Circuit, Samsung argued that Netlist’s interpretation of the supply

   clause—which would require Samsung to supply Netlist with DRAM and NAND products on

   demand for any purpose—was commercially absurd, and Samsung would never have agreed to

   this type of arrangement. Dkt. 273-19 (MSJ Ex. 18) at 34-35



                                                        . In this case, however, Samsung’s corporate

   representative testified that Samsung’s supply obligation in the JDLA is similar to Samsung

   agreements with other major customers requiring Samsung to provide memory products on

   request. Dkt. 273-18 (MSJ Ex. 17) at 21:3-23




             Based on the arguments above, Samsung successfully convinced the Ninth Circuit to

   reverse Judge Scarsi’s summary judgment order that Samsung had materially breached the supply

   clause.

             On December 12, 2023, Netlist moved for summary judgment on Samsung’s license

   defense in this case on the basis that (1) Samsung is estopped from arguing that the JDLA’s

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   license grant covers the Accused Products based on the arguments it made in the Ninth Circuit,

   and (2) in the alternative, the record evidence indisputably demonstrates that Samsung committed

   material breach in light of the specific admissions made by Samsung witnesses in this case. Dkt.

   273.

           Two days later, this Court denied Samsung’s motion to stay this case pending resolution

   of the California Action. Dkt. 278. This Court “specifically disagree[d] that the Ninth Circuit’s

   ruling means that the JDLA is currently ‘in full force and effect,’ as Samsung contends.” Id. at 4.

   The Court, however, declined to comment on this issue further because it is “currently pending

   before the Central District of California.” Id. at 4-5. Following this ruling, Samsung asked Netlist

   if it intended to withdraw its motion for summary judgment on Samsung’s license defense. Ex.

   1. In response, Netlist asked if Samsung was continuing to pursue its license defense, and if so,

   was it still maintaining that (1) the Accused Products are covered by the JDLA and (2) that the

   JDLA was still in effect. Id. Samsung responded that it was maintaining both positions. Id.

           B.      Samsung Is Attempting To Avoid the Consequences of Unique
                   Admissions made in East Texas

          Netlist has obtained discovery in this case that definitively rebuts Samsung’s license

   defense and contradicts its position in the California Action. For example, during his deposition

   in Samsung I, Samsung’s Vice President of Product Planning, Indong Kim, admitted that Samsung

   breached the JDLA by cutting off Netlist’s supply of NAND and DRAM, and this was unethical:

          Q. Was it ethical for Samsung to cut off a hundred percent of Netlist product supply
          knowing that it would destroy Netlist business?
          A. If a yardstick based on whether something is ethical or not is forced on me and I
          think I’ve been forced to determine this. Then I would consider it to be unethical, so
          the answer is yes.

   Dkt. 273-33 (MSJ Ex. 32) at 70:7-15 (objections omitted). In addition, as noted above, Samsung’s

   corporate representative, Joseph Calandra, testified in deposition in this action that Samsung’s

   supply obligation in the JDLA is similar to Samsung agreements with other major customers


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   requiring Samsung to provide memory products on request, Dkt. 273-18 (MSJ Ex. 17) at 21:3-

   23, which is the opposite of the position Samsung took in the Ninth Circuit.

           Samsung, however, has refused to allow Netlist to introduce this evidence in the

   California Action on the grounds that it would supposedly violate the protective order in this

   case. Indeed, Samsung went so far as to threaten Netlist with sanctions if Netlist disclosed this

   evidence to Judge Scarsi. Ex. 2. This is despite the fact that Samsung’s California counsel has

   appeared in the East Texas action, and has equal access to this information. Samsung is simply

   trying to avoid being held to account for damaging testimony from its corporate representative

   that it is not favorable to it. That is why it does not want Netlist’s summary judgment motion in

   this case to be briefed and heard.

   II.     ARGUMENT

           A.      The Court Should Reject Samsung’s Request For An Indefinite
                   Suspension of Briefing on Netlist’s Summary Judgment Motion

           Samsung has confirmed that it is still pursuing its full license defense and thus that defense

   remains squarely before this Court. Netlist not only has the right to seek summary judgment on

   this issue, but it must do so in order to preserve its rights. Moreover, the issue is ripe to be briefed

   as fact discovery is fully closed, and this case is scheduled to be tried in just four months.

           The Court should not defer briefing on Netlist’s motion for summary judgment simply

   because Samsung has moved to strike. As an initial matter, Samsung’s motion to strike is

   procedurally improper. Nothing in the Federal Rules or this District’s local rules permit a party

   to “strike” a motion for summary judgment that is filed within the proper time. Samsung simply

   wants to avoid taking a written position in this case so that it can continue to take inconsistent

   positions in different jurisdictions. But that is not a proper basis for striking a timely filed

   summary judgment motion on an expressly asserted affirmative defense, nor is it a reason to defer

   briefing indefinitely. See, e.g., Palmer v. Kirkwood, No. 4:20-CV-688-SDJ-KPJ, 2020 WL 13905123,


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   at *1 (E.D. Tex. Dec. 23, 2020) (extension of time are not warranted where the requesting party

   is acting in “bad faith”); Premier Rsch. Labs, LP v. Nurman, No. CV A-13-CA-069-SS, 2014 WL

   12461960, at *1 n.1 (W.D. Tex. July 14, 2014) (denying request for an extension brought for

   “delay tactics.”). Samsung should be required to respond to Netlist’s summary judgment motion

   in accordance with Local Rule 7 and this Court’s standing order.

           Even if Samsung’s motion to strike were procedurally proper, there is no reason why both

   motions cannot be briefed simultaneously. Requiring Samsung to state its full position on its

   license defense in this case—where it can no longer take inconsistent positions—will not in any

   way interfere with the California Action. Samsung does not dispute that the question regarding

   license scope is not currently at issue in California and is presently only before this Court. Indeed,

   Samsung’s motion to strike contains extensive substantive opposition to Netlist’s arguments

   regarding license scope. See, e.g., Dkt. 283 at 10 (“Samsung has not taken any inconsistent

   positions as to the scope of its license under § 8 of the JDLA.”), 11 (“The record overwhelmingly

   indicates that the parties intended to, and did, exchange unambiguously broad license rights in

   JDLA § 8.”). In other words, Samsung is attempting to selectively choose which portions of

   Netlist’s summary judgment motion it has to respond to and which it does not. This is not a

   proper basis to strike or to suspend summary judgment briefing.

           Requiring Samsung to put forth its position on termination and breach in this case will

   also not interfere with the California Action. Judge Scarsi is still considering whether he will even

   address these issues. After the California Action was reopened, Netlist informed judge Scarsi that

   it would “soon file a motion to stay this case until after the April 15 trial in the Eastern District

   of Texas during which the jury will consider Samsung’s claim that (1) the JDLA grants it license

   rights to Netlist’s patents that covers its commercial products, and (2) that the license has not

   been properly terminated.” California Action, Dkt. 343 at 3. Netlist filed this motion on

   November 30, 2023. Id., Dkt. 344. Judge Scarsi has ordered that Netlist’s motion to stay will be

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   heard on February 5, 2024, the same day as Judge Scarsi will hear cross-motions on summary

   judgment regarding contract interpretation. Id., Dkt. 346. Thus, this Court can simply defer ruling

   on any issues relating to breach and termination until February 5, 2024 and then proceed

   accordingly depending on how Judge Scarsi rules. This is fully consistent with this Court’s order

   denying Samsung’s request for a stay. Dkt. 278 at 5 (“The Court reasonably may defer issues of

   Netlist’s alleged termination of the JDLA to the Central District of California and simultaneously

   proceed on the other issues in this case . . . .”).

           Finally, Samsung argues that Netlist’s summary judgment motion here relies on evidence

   that is not in the record in the California Action. Mot. at 8. But this just demonstrates why it is

   imperative that summary judgment on breach and termination be separately briefed in this action.

   If Judge Scarsi declines to address these issues, then this Court will be required to decide whether

   Samsung has a legally viable license defense based on the record before it.

           B.       The Court Should Deny Samsung’s Alternative Request for a Fourteen-
                    Day Extension

           The Court should also deny Samsung’s alternative request for a fourteen-day extension

   to January 17, 2024 to respond to Netlist’s summary judgment motion. As noted above, Netlist

   agreed to an extension to January 5, 2024 without pre-condition, giving Samsung twenty-three

   days in total to respond. Samsung’s request for a fourteen-day extension, however, is excessive

   and solely designed so that Samsung can avoid having to take any positions in this case before its

   summary judgment briefing in the California Action is due (January 8, 2024).

           Samsung claims extra time is needed so that its California counsel can assist in preparing

   a response, but this is specious. Attorneys from the law firm that is representing Samsung in

   California (O’Melveny & Meyers) first made an appearance in this case on December 15, 2023,

   just three days after Netlist’s summary judgment motion was filed. Dkt. 280; Dkt. 281; Dkt. 287.

   Moreover, Samsung’s California counsel are fully familiar with the facts relating to the JDLA as


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   they previously served as Samsung’s trial and appellate counsel in the California Action. And the

   additional discovery in Netlist’s motion is from Samsung witnesses, whose transcripts Samsung’s

   California counsel had unfettered access to even before appearance. There is no reason why

   Samsung’s California counsel needs five weeks total, which is three weeks more than parties have

   to file responsive summary judgment motions under this Court’s standard docket control order,

   to respond to a 15-page motion. Samsung is simply seeking a delay for strategic purposes.

   III.      CONCLUSION

          For the reasons stated above, Samsung’s for an extension should be denied.




   Dated: December 22, 2023                            Respectfully submitted,

                                                       /s/ Jason G. Sheasby

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              CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

          I hereby certify that the foregoing document and exhibits attached hereto are authorized

   to be filed under seal pursuant to the Protective Order entered in this Case.

                                                          /s/ Jason G. Sheasby
                                                          Jason G. Sheasby



                                  CERTIFICATE OF SERVICE

          I hereby certify that, on December 22, 2023, a copy of the foregoing was served by email

   to all counsel of record for Samsung Defendants.

                                                          /s/ Jason G. Sheasby
                                                          Jason G. Sheasby




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